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 I   data. The Cloud Computing Company provides services through seryer farms that are
 2   located throughout the world and maintained by the Cloud Computing Company.
 a
 J           3.         Capital One Financial Corporation ("Capital One") is a bank holding
 4   company that offers credit cards and other services to customers throughout the United
 5   States. Capital One supports its services, inpart, by renting or contracting for computer
 6   servers from the Cloud Computing Company. The seryers on which Capital One stores
 7   credit card application and other information generally are located in states other than the
 8   State of Washington, and they store information regarding customers, and support

 9   services, in multiple states. Deposits of Capital One are insured by the Federal Deposit
10   Insurance    C   orporation.
ll           4.        Victim 2 is a state agency of a state that is not the State of Washington.
t2 Victim 2 supports its services, in part, by renting or contracting for computer servers
13   from the Cloud Computing Company.
l4           5.        Victim 3 is a telecommunications conglomerate located outside the United
15   States that provides services predominantly to customers in Europe, Asia, Africa, and

t6 Oceania. Victim 3 supports its services, in part, by renting or contracting for computer
l7   servers from the Cloud Computing Company.
18           6.        Victim 4 is a public research university located outside the State of
t9 Washington. Victim 4 supports its services, in part, by renting or contracting for
20   computer seryers from the Cloud Computing Company.
2t           7.        Victim 5 is a technology company that specializes in digital rights
22   management. Victim 5 supports its services, in part, by renting or contracting for
23   computer seryers from the Cloud Computing Company.
24           8.        Victim 6 is a technology company that provides data and threat protection
25   services. Victim 6 supports its services, in part, by renting or contracting for computer
26   servers from the Cloud Computing Company.
27           9.        Victim 7 is atechnology company that provides interaction-management
28   solutions for customer interactions in call centers and other environments. Victim 7

      Superseding Indictment - 2                                                UNITED STATES ATTORNEY
                                                                                                       5220
                                                                               7OO STEWART STREET, SUITE
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 I   supports its services, in part, by renting or contracting for computer servers from the
 2   Cloud Computing Company.
 a
 J              10.      Victim 8 is a technology company that provides higher education learning
 4   technology to educational institutions and other clients. Victim 8 supports its services, in
 5   part,by renting or contracting for computer servers from the Cloud Computing Company
 6   B.      The Essence of the Scheme and Artifice

 7
                I   1.   The object of the scheme was to exploit the fact that certain customers        of
 8
     the Cloud Computing Company had misconfigured web application firewalls on the
 9
     seryers that they rented or contracted from the Cloud Computing Company. The object
10
     was to use that misconfiguration to obtain credentials for accounts of those customers
11
     that had permission to view and copy data stored by the customers on Cloud Computing
t2
     Company servers. The object then was to use the stolen credentials to access and copy
13
     other data stored by the customers on Cloud Computing Company servers, including data
l4 containing valuable personal identifying information. The object          also was to use the
15
     access to the customers' servers       in other ways for PAIGE A. THOMPSON's own benefit,
t6 including by using those         seryers to mine cryptocurrency and thereby obtain something           of
l7 value.
18
     C.      The Manner and Means of the Scheme and Artifice
t9           12.         It was part of the scheme and artifice that PAIGE A. THOMPSON used,
20
     and created, scanners that allowed her to scan the public-facing portion of servers rented
2t or contracted by customers from the Cloud Computing Company,               and to identi8, servers
22
     for which web application firewall misconfigurations permitted commands sent from
23
     outside the servers to reach and be executed by the servers.
24
             13.         It was fuither part of the scheme and artifice that PAIGE A. THOMPSON
25
     transmitted commands to the misconfigured servers that obtained the security credentials
26
     for particular accounts or roles belonging to the customers with the misconfigured
27
     servers.
28

      Superseding Indictment - 3                                                UNITED STATES ATTORNEY
                                                                               700 SrEV/ARr SrREEr, SurrE 5220
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 1           14.     It was further part of the scheme and artifice that PAIGE A. THOMPSON
 2   used the accounts for which she had obtained security credentials to obtain lists or
 a
 J   directories of folders, or buckets, of data in the Cloud Computing Company customers'
 4   storage space at the Cloud Computing Company.
 5           15.     It was further part of the scheme and artifice that PAIGE A. THOMPSON
 6   used the accounts for which she had obtained security credentials to copy data, from

 7   folders or buckets of data in the Cloud Computing Company customers' storage space at
 8   the Cloud Computing Company for which the accounts had requisite permissions, to a
 9   server that PAIGE A. THOMPSON maintained at her own residence.
10           16.     It was further part of the scheme and artifice that, in taking these steps,
11   PAIGE A. THOMPSON implicitly represented that commands to copy datathat she sent
l2 using the accounts for which         she had obtained security credentials were legitimate

13   commands sent by users with permission to send such commands, rather than commands
t4 sent by a person who had stolen the security credentials and who lacked authority to use
15   the accounts and send the commands.
t6           17.     It was further part of the scheme and artifice that, in executing the scheme
t7 and artifice, PAIGE A. THOMPSON used virtual private networks ("VPNs"), including                          a

t8 VPN offered by the company IPredator, to conceal PAIGE A. THOMPSON's location
t9 and identity from the Cloud Computing Company and from victim companies.
20           18.     It was further part of the scheme and artifice that, in executing the scheme
2t and artifice, PAIGE A. THOMPSON used The Onion Router ("TOR") to conceal PAIGE
22   A. THOMPSON's location and identity from the Cloud Computing Company and from
23   victim companies.
24           19.     It was further part of the scheme and artifice that PAIGE A. THOMPSON
25   copied data to her own seryer from servers rented or contracted by Capital One from the
26   Cloud Computing Company, including datathat contained information, including
27   personal identifying information, from approximately 100,000,000 customers who had
28   applied for credit cards from Capital One.

      Superseding Indictment - 4                                               UNITED STATES ATTORNEY
                                                                              700 SrEwARr SrREEr, SurrE 5220
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 I            20.    It was further part of the scheme and artifice that PAIGE A. THOMPSON
 2   copied and stole data from more than 30 different entities, including Capital One,
 a
 J   Victim 2,Yictim 3, Victim 4, Victim 5, Victim 6, Victim 7, and Victim                      8 that had

 4   contracted or rented seryers from the Cloud Computing Company.
 5            21.    It was further part of the scheme and artifice that PAIGE A. THOMPSON
 6   used her unauthorized access to certain victim servers          - and stolen computing             power of
 7   those seryers   -   to "mine" cryptocurrency for her own benefit,            a   practice often referred to
 8   as   "cryptojacking." (Cryptocuffency mining is the process by which cryptocurrency
 9   transactions are verified and added to the public ledger, i.e., the blockchain. Persons who
10   verify blocks of legitimate transactions, often referred to           as   "miners," are rewarded with
11   an amount of that cryptocurrency. Successful mining operations consume large amounts
t2 of computing power and hardware.)
t3   C.      Execution
t4           22.     On or about March 22,2019, at Seattle, in the Western District                    of
15   Washington, and elsewhere, PAIGE A. THOMPSON, for the purpose of executing the
16   scheme and artifice described above, caused to be transmitted by means of wire
t7 communication in interstate commerce, from her computer in Seattle to a computer
18   outside the State of Washington, writings, signs, signals, pictures, and sounds, that is, a
l9 command to copy data belonging to Capital               One from servers, rented and contracted by
20   Capital One from the Cloud Computing Company,to aseryer belonging to PAIGE A.
2t THOMPSON in Seattle.
22           All in violation of Title    18, United States Code, Section 1343.

23

24
                                               COUNT 2
                                       (Computer Fraud and Abuse)
25

26
             23.     The allegations set forth in Paragraphs l-22 of this Superseding Indictment

27
     are realleged and incorporated into this Count, as         if fully   set forth herein.

28
             24.     Between on or about March 12,2019, and on or about July 17,2019, at
     Seattle, within the Western District of Washington, and elsewhere, PAIGE A.
      Superseding tndictment - 5                                                          UNITED STATES ATTORNEY
                                                                                          700 SrEwARr SrREEr, SUrTE 5220
      United States v. Paige A. Thompson, [No.CR19-0159]
                                                                                           SraTrlr, WAsHrNcroN     98 1 0   1

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 1   THOMPSON intentionally accessed a computer without atthorization, to wit, a computer
 2   containing information belonging to Capital One Financial Corporation, and thereby
 a
 J   obtained information contained in a financial record of a financial institution and of a
 4   card issuer as defined in Sectio     n 1602of Title   15, and information from a protected

 5   computer, and the value of the information obtained exceeded $5,000.
 6           All in violation of Title    18, United States Code, Section 1030(a)(2)(A) and (C),

 7   and (c)(2)(A) and (B)(iii).
 8
                                             COUNTS 3 -5
 9
                                       (Computer Fraud and Abuse)
l0
11
             25.     The allegations set forth in Paragraphs l-22 of this Superseding Indictment

l2   are realleged and incorporated into these Counts, as       if fully   set forth herein.

13
             26.     On or about the dates below, at Seattle, within the Western District               of
                                        A. THOMPSON intentionally accessed a computer
t4 Washington, and elsewhere, PAIGE
l5 without atthorization, to wit, computers containing
                                                       information belonging to the entities
                                                           a protected computer,
t6 identified below, and thereby obtained information from                                           and the

         of the information obtained exceeded $5,000.
t7 value
l8        Count                        Date                                     Entitv
t9           a
             J                    April 5,2019                                 Victim    3
20
             4                   March 7,2019                                  Victim    5
2l                                                                             Victim
             5                  March 12,2019                                            7
22

23
            All in violation of Title     18, United States Code, Section 1030(a)(2)(C), and
24
     (cX2XA) and (B)(iii).
25

26

27

28

      Superseding Indictment - 6                                                     UNITED STATES ATTORNEY
                                                                                    700 STEWART SrnEpr, SurrE 5220
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 1                                           COUNTS 6.7
                                       (Computer Fraud and Abuse)
2

 3          27.      The allegations set forth in Paragraphs 1-22 of this Superseding Indictment
 4   are realleged and incorporated into these Counts, as     if fuIly   set forth herein.

 5           28.     On or about the dates below, at Seattle, within the Western District              of
 6   Washington, and elsewhere, PAIGE A. THOMPSON intentionally accessed a computer
 7   without authorization, to wit, computers containing information belonging to the entities
 8   identified below, and thereby obtained information from a protected computer.
 9
          Count                        Date                                    Entity
10
             6                   March 5,2019                                 Victim   6
l1
             7                  March 28,2019                                 Victim    8
t2
T3
            All in violation of Title     18, United States Code, Section 1030(a)(2)(C), and
L4
     (c)(2)(A).
15

t6
                                               COUNT 8
t7                                     (Computer Fraud and Abuse)
18

t9
             29.     The allegations set forth in Paragraphs l-22 of this Superseding Indictment

     are realleged and incorporated into this Count, as     if fully   set forth herein.
20

2t
             30.     Beginning on or before March 10,2019, and continuing until on or after
     August 5,2019, at Seattle, within the Western District of Washington, and elsewhere,
22
     PAIGE A. THOMPSON, knowingly caused the transmission of aprogram, information,
23
     code, and command, that is a program, cbde, and commands designed to perform
24
     cryptocurrency mining, and, as a result of such conduct, intentionally caused damage
25
     without authorizrtion to protected computers rented and contracted by Victim 7,
26
     Victim 8, and other victims, from the Cloud Computing Company, and the offense
27
     caused loss to one or more persons during a one-year period, including loss from a related
28
     course of conduct, aggregating at least $5,000 in value.
      Superseding Indictment - 7                                                   UNITED STATES ATTORNEY
                                                                                  700 STEWART SrREEr, SrnrE 5220
      United States v. Paige A. Thompson, [No.CRl9-0159]
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 1             All in violation of Title 18, U.S.C.      Section 1030(a)(5)(A) and (c)(a)(n)(i).
2
 a
 J
                                                    COUNT       9
4                                             (Access Device F'raud)

 5
               31.      The allegations set forth   in   Paragraphs 7-22of this Superseding Indictment
 6
     are realleged and incorporated into this Count, as if          fully set forth herein.
 7
               32.      Begiruring on or about March 12,2019, and continuing until on or about
 8
     July 17, 2019, at Seattle, within the Western District of Washington, and elsewhere,
 9
     PAIGE A. THOMPSON, knowingly and with intent to defraud, possessed and attempted
l0   to possess counterfeit and unauthorized access devices, said possession affecting
11
     interstate and foreign commerce, in that PAIGE A. THOMPSON possessed and
12
     attempted to use personal identifying information (PII), including more than 15 Social
13
     Security Numbers and more than 15 bank account numbers, stolen during the conduct
l4   described in Count 1, to create counterfeit and unauthorized credit and debit cards to be
15
     used to conduct transactions in interstate and foreign cofltmerce.
t6             A11   in violation of Title 18, United States Code, Section 1029(a)(3), (b)(1) and
l7 (c)(t)(a)(i).
18

t9                                                 COUNT 10
20                                         (Aggravated Identity Theft)

21
               33.      The allegations set forth in Paragraphs l-22 of this Superseding Indictment
22
     are realleged and incorporated into this Count, as if          fully set forth herein.
23
               34.      Beginning on or about March 12,2019, and continuing until on or about
24   Jru,ly   17,2019, at Seattle, within the Western District of Washington, and elsewhere,
25
     PAIGE A. THOMPSON, knowingly possessed, without lawful authority,                        a
26
     means of identification of another person during and in relation to a felony violation
27
     enumerated       in   18   U.S.C. $ 1028A(c), to wit Wire Fraud, including as charged in Count              1,
28
     and Access Device Fraud, as charged in Count 9, knowingthat the means                    of
      Superseding Indictment - 8                                                      UNITED STATES ATTORNEY
                                                                                     700 SrEwARr SrREEr, SUIrE 5220
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 1   identification belonged to another actual person, to wit, the names and other personal
 2   identifying information (PIf of millions of people, including J.B., stolen during the
 a
 J   conduct described in Count        1.

 4           All in violation of Title      18, United States Code, Section 1028A(a)(l).

 5

 6                               ASSET FORFEITURE ALLEGATION
 7                                                 (couNT        1)

 8
             The allegations contained in Count            I of this Superseding   Indictment are hereby
 9
     realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to
10
     Title 18, United States Code, Section 981(aX1XC), by way of Title28, United States
l1   Code, Section 2a6l@). Upon conviction of the offense charged in Count 1, the
t2 defendant, PAIGE A. THOMPSON, shall forfeit to the United States any propefi,real
13
     or personal, which constitutes or is derived from proceeds traceable to such offense,
t4 including but not limited to a sum of money representing the proceeds the defendant
l5 obtained from the offense.
t6                                               (couNTS 2-8)
t7           The allegations contained in Counts 2 through 8 of this Superseding Indictment
l8   are hereby realleged and incorporated by reference for the purpose of alleging forfeiture
t9 pursuant to Title 18, United States Code, Sections 982(a)(2)(B) and 1030(i). Upon
20
     conviction of an offense charged in Counts 2 through 8, the defendant, PAIGE A.
2t THOMPSON, shall forfeit to the United              States any properfy constituting, or derived
22
     from, proceeds the defendant obtained, directly or indirectly, as the result of such offense,
23
     and shall also forfeit the defendant's interest in any personal property that was used or
24
     intended to be used to commit or to facilitate the commission of such offense, including
25
     but not limited to a sum of money representing the proceeds the defendant obtained from
26
     the offense.
27

28

      Superseding Indictment - 9                                                       UNITED STATES ATTORNEY
                                                                                      700 SrEwARr SrREEr, SurrE 5220
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 1                                                 (couNr     e)
 2           The allegations contained in Count 9 of this Superseding Indictment are hereby
 a
 J   realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to
 4   Title 18, United States Code, Sections 952(a)(2)(B) and 1029(c)(l)(C). Upon conviction
 5   of the offense charged in Count 9, the defendant, PAIGE A. THOMPSON, shall forfeit to
 6   the United States any property constituting, or derived from, proceeds the defendant
 7   obtained, directly or indirectly, as the result of such offense, and shall also forfeit the
 8   defendant's interest in any personal property that was used or intended to be used to
 9   commit or to facilitate the commission of such offense, including but not limited to                      a

l0 judgment for a sum of money representing the proceeds the defendant obtained from the
11   offense.
12                                             (Substitute Assets)
13           If any of the above-described forfeitable property, as a result of any act or
t4 omission of the defendant,
t5           a.   cannot be located upon the exercise of due diligence;
t6           b. has been transferred      or sold to, or deposited with,   a   third party;
l7           c. has been placed beyond the         jurisdiction of the Court;
18           d. has been substantially      diminished in value; or
L9           e.   has been commingled with other properly which cannot be divided without

20                difficulty;
2l
22

23

24

25

26

27

28

      Superseding Indictment - 10                                                    LINITED STATES ATTORNEY
                                                                                     7OO STEWART STREET, SUITE     5220
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 1   it is the intent of the United States to seek the forfeiture of any other propeffy of the
 2   defendant, up to the value of the above-described forfeitable property, pursuant to Title
 a
 J   21, United States Code, Section 853(p).
 4

 5                                                         A TRUE BILL:
 6                                                         DATED:           i7 {uru      Ao2t
 7                                                         S i gnaturoffor ep er s on r e dact e d
                                                                        e
                                                           pursuant to the policy of the Judicial
 8
                                                           Conference of the United States
 9
                                                           FOREPERSON
l0
11

t2
13
     Acting United States Attorney
t4
15

t6
17
       Lrl_
     ANDREW C. FRIEDMAN
                       C,a-
     Assistant United States Attorney
l8
t9
20
     STEVEN T. MASADA
2t   Assistant United States Attorney
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      Superseding lndictment - I I                                              UNITED STATES ATTORNEY
                                                                               700 SrEwARr SrREEr, SurrE 5220
      United States v. Paige A. Thompson, [No.CRl9-0159]
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